Case 1:22-cr-00015-APM Document 717-1
“A/2212021

CALDWELL, THOMAS EDWARD
PCP-041468
SEGREGATION-SHU-O4 | SEGREGATION-SHU-D gate LEASED**

J ALERTS

Include Records from Previous Bookings

Patient Provider Med Orders

HOLD APPLIED: [none}
PRIORITY NEEDS: No #&

Filed 12/15/23

M (66) 08/21/1954
CMT: 01/19/2024 13:55

RLS: 03/12/2021 19:10

Page 1 of 1

MEDICATION ORDERS AddMed Group Titration History Active {0) @ Show Inactive (15)
Medication #Units Route Fraq) QOH/ Refill Sent Source Provider Start/End
Refills
ZYRTEC 10MG TAB 1 PO QAM 4/0 Koc OTN oetozee, «(Select
SEVDAY 86-102008 2 Pot t070 Koc OTTOUN osioamz029 — (ssinet
soe rap NE AEE 1 PO QHS 16/0 KOC OBER,P Dagrene' [Select]
CAD DINE HEL OMG i PO BID 32/0 KOC OBER,P Dtrmgo, [Sele v|
COLD RELIEF 925-1045 5 20 10 oro Koc OTFOLIN o2r2a021 ge]
IBUPROFEN 600MG TAB 1 PO 1D 18/0 Koc OFTEN: Gamnerao2' [Select
IBUPROFEN 200MG TAB 3 PO TID OfO KOC tN ottoo (Select |
mores moto a coo TO rau
OMEPRAZOLE 20MG , 20 cam 11/10 02942021 og OTTOLIN o1rza021 eae)
SEROTEC mca 10 SBR nog OTTCAN HANA nsga
DHEA 25MG CAP 1 PO BID 18/10 ogg | KOC OTN eae, «Select |
CLONIDINE HCL 0.41MG , 20 aD 6/0 Koc oneR,p OV20202 (Sag
Comments: Hold for BP <190/60, HR <60, or RR <16
Nee EN 2 PO TID 18/0 KOC OBER.P Gimqops, ‘(Select >|
Comments: PRN pain -- ibuprofen OR acetaminophen
IMODIUM A-D 2MG TAB 2 PO BID 18/0 KOC OBER.P Diioaianoy Select
Comments: PRN diarrhea
7 ro Gn s/t Koc OTN gyngaoey —(Seleet

CORRECTIONAL ELECTRONIC MEDICAL RECORD

HEALTHSECURE EMR
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15 items | Page Size 50

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